      Case 23-30278        Doc 14      Filed 04/14/23 Entered 04/14/23 09:12:51                 Desc Notice to
                                           File Claims Page 1 of 1
                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA



                                                            Case No.: 23−30278 − KLT
                                                            Chapter: 7

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Daniel A Rogers

   723 6th St NE
   Faribault, MN 55021

   Social security/Taxpayer ID/Employer
   ID/Other Nos.: xxx−xx−1674

                                           NOTICE TO FILE CLAIMS



Payment of a dividend appears possible in this case. The previous notice stated that no claims may be filed.
Accordingly, pursuant to Bankruptcy Rule 3002(c)(5), creditors are hereby notified that proofs of claim must be filed
by 7/17/23 , or, for governmental units, within 180 days from the date of the Order for Relief or 7/17/23 , whichever
is later. Proofs of claim can be filed electronically on the court's website: www.mnb.uscourts.gov . No login or
password is required. Alternatively, a Proof of Claim form (Official Form 410) can be obtained at the same website
or at any bankruptcy clerk's office.


Dated: 4/14/23

                                                            Tricia Pepin
                                                            Clerk, U.S. Bankruptcy Court
                                                            200 Warren E. Burger Federal Building
                                                            and U.S. Courthouse
                                                            316 N Robert St
                                                            St Paul, MN 55101


                                                            BY: admin
                                                            Deputy Clerk

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